              Case 8:18-cr-00012-TDC Document 97 Filed 10/02/19 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND


UNITED STATES OF AMERICA

         v.

MARK T. LAMBERT,                                            Criminal Action No. TDC-18-0012

         Defendant.



                       MODIFIED PRETRIAL SCHEDULING ORDER

         On May 29,2019, the Court issued its Second Revised Pretrial Order. ECF No. 86. The

Court now MODIFIES the schedule as set forth below.            All other pretrial deadlines remain in

force.

         October 23, 2019, at 9:00 a.m.         Pretrial Conference/Motions in limine
                                                Hearing

         October 31, 2019, 9:00 a.m.            Jury Trial (Day 3)
         to 1:00 pm

         November 15,2019 at 9:00 a.m.          Jury Trial (if necessary)

         In addition, the parties are reminded to work within the Court's template voir dire

questions and template jury instructions to ensure consistency of formatting for the Court's

reference. With respect to the jury instructions, for any additional proposed instruction based on

more than one source or case, the parties shall provide separate footnote citations for each

sentence so that the source for each line is clearly identified.




Date: October~2019
